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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON


 JAMIE ZIMMERMAN, an individual; and                CASE NO.:
CHRISTINA AST, an individual; and CYNTHIA
HAEHNEL, an individual; and MARGARET
SMARR, an individual; and AMBER SCHAEFFER,          COMPLAINT – CLASS ACTION
an individual; and MICAH BURR, an individual;       FOR DAMAGES, AND
and SARAH BEAM, an individual; and JUSTIN           INJUNCTIVE AND
SYRING, an individual; and REBECCA                  DECLARATORY RELIEF
LAUGHLIN, an individual; and LILIYA DUDIK,
an individual; and GEORGE ALLEN, an individual;
and VICTORIA FISHER, an individual; and             JURY DEMAND
MELLISSA KOLB, an individual; and ALIVIA
VEGA, an individual; and KAREN F. WICKEN, an
individual; and AMY MAKARENKO, an
individual; and AMY ELIZABETH REED, an
individual; and KAREN BRANCH, an individual;
and ANNA MEADOWS, an individual; and
MICHAEL ROGEN, an individual; MARIA
O’NEILL, an individual; E
ISHA MORENO, an individual; JOHN DOES 1-
400; and JANE DOES 1-400

                                      Plaintiffs,
      v.

 PEACEHEALTH, a non-profit corporation, LIZ
 DUNNE, President and Chief Executive Officer
 at   PeaceHealth,    RICHARD      DeCARLO,
 Executive Vice President and Chief Operating
 Officer at PeaceHealth, STEVE GLENN,
 Executive    Vice     President  and  Chief
 Administrative    Officer,   SARAH   NESS,

PLAINTIFFS’ CLASS ACTION
COMPLAINT FOR INJUNCTIVE
                                                          Silent Majority Foundation
AND DECLARATORY RELIEF                                          5238 Outlet Dr.
AND FOR DAMAGES                                                Pasco, WA 99301
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 1     Executive Vice President, People and Culture of
       PeaceHealth, SCOTT FOSTER, Chief Executive,
 2     PeaceHealth Medical Group, MICHELLE
       JAMES, RN, Senior Vice President for Patient
 3
       Care Services and Chief Nursing Officer, DOUG
 4     KOEKKOEK, MD, Chief Physician and Clinical
       Executive, CHARLES PROSPER, MSPT, MBA,
 5     Chief Executive, Northwest Network,

 6                                               Defendants.
 7

 8
                                                I. INTRODUCTION
 9
         1.          Plaintiffs have suffered religious discrimination at the Defendants hands through
10
     Defendants’ implementation and enforcement of its COVID-19 vaccine mandate policy [NAME]
11
     (“Policy”), which mandated a COVID-19 vaccine as a condition of employment. While the Policy
12

13   on its face allowed individuals to claim religious exemptions and receive accommodations,

14   PeaceHealth denied all of these requests. Moreover, the Policy required Plaintiffs to receive a drug

15   that is in clinical investigation stages in the COVID-19 vaccines.
16       2.          Through the Policy, Defendants offered a sliver of hope that Plaintiffs and would
17
     be accommodated, but in the end, every Plaintiff’s request was flatly rejected resulting in the
18
     placement of indefinite leave without pay, resulting in the Plaintiffs arising every day with the
19
     hope that they can return to work and retiring at night having had no opportunity to return to work.
20

21       3.          Through the Policy, Defendants mandated a vaccine that was, and remains

22   authorized through an Emergency Use Authorization (“EUA”) granted by the by the United States

23   Federal Drug Administration (“FDA”) under Section 564(b)(1)(C) ((21 U.S.C. 360bbb-3)) of the
24
     Food Drugs and Cosmetics Act (“FD&CA”).1
25

26

27   1 The Pfizer BioNTech vaccine was granted EUA authorization December 12, 2020, and the authorization has been
     reissued 18 times since. https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-regulatory-and-
28   policy-framework/emergency-use-authorization#vaccines. Last accessed: December 10, 2022.
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 1

 2                                                   II. PARTIES
 3       4.          Defendant PEACEHEALTH is a not-for-profit healthcare system headquartered

 4   in Clark County, WA recognized as tax-exempt pursuant to Section 501(c)(3) of the Internal
 5
     Revenue Code.
 6
         5.          PeaceHealth touts a mission of “carry[ing] on the healing mission of Jesus Christ
 7
     by promoting personal and community health, relieving pain and suffering, and treating each
 8
     person in a loving and caring way.”2 Notably, “At PeaceHealth, the fulfillment of our Mission is
 9

10   our shared purpose.”3

11       6.          Defendant LIZ DUNNE is the President and Chief Executive Officer of
12   PeaceHealth.
13
         7.          Defendant RICHARD DECARLO is the Executive Vice President and Chief
14
     Operating Officer of PeaceHealth.
15
         8.          Defendant STEVE GLENN is the Executive Vice President and Chief
16

17   Administrative Officer of PeaceHealth.

18       9.          Defendant SARAH NESS is the Executive Vice President, People and Culture of

19   PeaceHealth.
20       10.         Defendant SCOTT FOSTER, MD is the Executive, PeaceHealth Medical Group.
21
         11.         Defendant MICHELLE JAMES, RN is the Senior Vice President for Patient Care
22
     Services and Chief Nursing Officer of PeaceHealth.
23
         12.         Defendant DOUG KOEKKOEK, MD is the Chief Physician and Clinical
24

25   Executive of PeaceHealth.

26

27   2 PeaceHealth at a Glance. Available at: https://www.peacehealth.org/sites/default/files/2022-
     07/System_PeaceHealth-at-a-Glance-2022-FINAL.pdf. Last accessed: December 7, 2022.
28   3 Id.
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 1      13.         Defendant CHARLES PROSPER, MSPT, MBA is the Chief Executive Northwest

 2   Network of PeaceHealth.
 3
        14.         Plaintiff, JAMIE ZIMMERMAN, is a Registered Nurse in the PeaceHealth
 4
     Southwest Medical Center in the PeaceHealth System. She submitted a signed, written request
 5
     for an exemption and accommodation from PeaceHealth COVID-19 Vaccine Requirement
 6
     Policy, but PeaceHealth refused to provide a reasonable accommodation. She was put on
 7

 8   administrative leave on September 1, 2021, which expired December 31, 2021. This

 9   administrative leave was reviewed and reinstated on December 17, 2021, March 25, 2022, June
10   23, 2022, August 30, 2022, and November 30, 2022. The next review will occur on February 28,
11
     2023. Ms. Zimmerman worked as a Registered Nurse for PeaceHealth For nearly 20 years
12
     beginning in July of 2002 and regularly received positive reviews. For approximately 12 years,
13
     Ms. Zimmerman declined the flu vaccine for religious reasons. The hospital accommodated this
14

15   denial by withholding the name tag sticker that indicated whether the employee had received a

16   flu shot and by requiring that she wear a mask, along with the ordinary measures used in

17   hospitals to prevent the transmission of communicable diseases such as hand washing between
18   patients. After the COVID-19 vaccine became mandatory, her religious objection was accepted
19
     but not accommodated. The loss of Ms. Zimmerman’s employment at PeaceHealth has severely
20
     impacted her and her family’s financial, physical, and emotional well-being. She received a right
21
     to sue letter from the Employment Opportunities Commission (“EEOC”) on September 13, 2022.
22

23      15.         Plaintiff, CHRISTINA AST, worked as a charge nurse at St. John Medical

24   Center in the PeaceHealth System. She submitted a written, signed request for an exemption and

25   accommodation from PeaceHealth COVID-19 Vaccine Requirement Policy, but PeaceHealth
26
     refused to provide a reasonable accommodation. She was put on administrative leave on
27
     September 1, 2021, which expired December 31, 2021. This administrative leave was reviewed
28
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 1   and reinstated on December 17, 2021, March 25, 2022, June 23, 2022, August 30, 2022, and

 2   November 30, 2022. The next review will occur on February 28, 2023. Ms. Ast was hired on
 3
     March 9, 2008, and has never received a negative review or been disciplined while at
 4
     PeaceHealth. Years prior to the pandemic Ms. Ast declined the flu vaccine for medical reasons.
 5
     The hospital accommodated this denial by withholding the name tag sticker that indicated she
 6
     had gotten a flu vaccine, and by requiring that she wear a mask, along with the ordinary
 7

 8   measures used in hospitals to prevent transmission of communicable diseases such as hand

 9   washing between patients. No such medical exemptions were allowed for the experimental
10   COVID-19 vaccines. On a daily basis in the between-shift huddles, it was made clear to all
11
     employees that no medical exemptions would be granted and it was stated that without exception
12
     everyone needed to be vaccinated. After being denied a medical exemption for the COVID-19
13
     vaccine, Ms. Ast prayed and fasted about getting the vaccine. She felt no peace about it and so
14

15   submitted a religious exemption which was accepted but not accommodated resulting in unpaid

16   administrative leave. Ms. Ast’s family relies on her employment for health insurance, mortgage

17   payment, food, caring for family and retirement. The loss of her employment has a severe impact
18   on Ms. Ast and her family’s financial, physical, mental and emotional well-being. Her recent
19
     mortgage was based in part upon her income. This loss has meant that she and her husband have
20
     not been able to afford an eye exam to get a new prescription for over a year. This impacts her
21
     husband’s ability to do his job. Additionally, the loss of retirement benefits and the need to use
22

23   savings has had a dramatic impact to her retirement plans. Additionally, to make ends meet, her

24   ailing mother has had to move in with them. This stress has impacted her marriage and other

25   relationships negatively. She received a right to sue letter from the EEOC on September 19,
26
     2022.
27
28
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 1      16.         Plaintiff CYNTHIA HAEHNEL is an LPN at the PeaceHealth Cardiology Clinic

 2   in Bellingham, WA. Cynthia Haehnel submitted a signed written request for an exemption and
 3
     accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination Policy, but PeaceHealth
 4
     refused to provide a reasonable accommodation. She was put on administrative leave on
 5
     September 1, 2021, which expired December 31, 2021. This administrative leave was reviewed
 6
     and reinstated on December 17, 2021, March 25, 2022, June 23, 2022, August 30, 2022, and
 7

 8   November 30, 2022. The next review will be in February 28, 2023. Years prior Ms. Haehnel

 9   declined the flu and other vaccines for medical reasons. The hospital accommodated this denial
10   by withholding the name tag sticker that indicated she had gotten a flu vaccine, and by requiring
11
     that she wear a mask, along with the ordinary measures used in hospitals to prevent transmission
12
     of communicable diseases such as hand washing between patients. After her medical exemption
13
     was denied as it applied to the COVID-19 vaccine, she learned that fetal tissue was used in the
14

15   development of each of the vaccines and so submitted a religious objection. This objection was

16   accepted, but not accommodated, resulting in unpaid administrative leave. Cynthia Haehnel’s

17   family relies on her employment for health insurance as well as for helping to pay for education
18   expenses for her daughter. The loss of Cynthia Haehnel’s employment has severely impacted
19
     Plaintiff Haehnel and her family’s financial and physical well-being. This loss of active
20
     employment has been difficult mentally. Cynthia had hoped to end her career in the PeaceHealth
21
     Cardiology clinic. Cynthia was in a serious motorcycle accident versus a semi-truck in her youth.
22

23   When Cynthia attempted to get into nursing school they did not want to allow her admittance, as

24   they said Cynthia was “too crippled” to do the job. She persisted and was accepted into nursing

25   school. Cynthia worked with one M.D. who would call her gimpy. She managed to work 28
26
     years in cardiology clinics. Cynthia’s last job at PeaceHealth was ideal for her and her
27
     disabilities. She had her own office in which she kept a box under her desk on which to elevate
28
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 1   her impaired leg. Without elevating her leg between patients, it would have been very difficult to

 2   walk at the end of the day.
 3
        17.         Plaintiff MARGARET SMARR is a registered nurse at PeaceHealth St. John’s
 4
     medical center in the PeaceHealth system. Ms. Smarr submitted and signed, in written form, for
 5
     an exemption and accommodations from PeaceHealth’s mandatory COVID-19 Vaccination
 6
     Policy which was accepted on August 27, 2021. PeaceHealth then threatened to revoke my
 7

 8   religious exemption unless I filled out a different form by October 18, 2021. PeaceHealth

 9   refused to provide reasonable accommodation. Ms. Smarr and her family had recently moved
10   and relied on her contribution in order to pay for bills, mortgage, school loan debt, and health
11
     insurance for the family. She was about 7 months pregnant at time of being placed on unpaid
12
     leave. The sudden single month notice that she would lose both her income and health insurance
13
     necessary to support her growing family caused stress for the whole family. There were large
14

15   amounts of anxiety around getting coverage for the birth, OB/gyn visits, postpartum care, and

16   newborn/well child appointments coming quickly. What was supposed to be an exciting life

17   event turned into a fearful and stressful one. She also faced harassment from coworkers on her
18   unit before her forced unpaid leave. It was mentally exhausting having to defend herself, being
19
     called selfish, having the understaffing being blamed on her when she went into nursing to help
20
     people and wanted to continue working. Meanwhile she tried to communicate with HR,
21
     management, and the nurses union about accommodations so that she could continue to provide
22

23   patient care but was flat out refused any accommodations to continue working. She found herself

24   locked from her work email and when she tried to contact her manager to gain access to her

25   communications with HR, she learned the manager had quit and someone new had taken over.
26
     Ms. Smarr felt abandoned by her employer, and lost her trust in the PeaceHealth system. She has
27
     spent years of her life dedicated to becoming a nurse and is scarred from the actions PeaceHealth
28
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 1   took without regard to her or to the employees unvaccinated, unaccommodated employees (like

 2   her), and to the remaining PeaceHealth employees who are left in an understaffed environment.
 3
        18.         Plaintiff AMBER SCHAEFFER is a Maintenance Painter in the PeaceHealth
 4
     Southwest Medical Center in the PeaceHealth System. Amber Schaeffer submitted a signed,
 5
     written request for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19
 6
     Vaccination Policy, but PeaceHealth refused to provide a reasonable accommodation. Amber
 7

 8   Schaeffer’s family relies on her employment for health insurance as well as for paying family

 9   bills & financial assistance for her 82-year-old mother. The loss of Amber Schaeffer’s
10   employment has severely impacted her and her family’s financial, physical & medical well-
11
     being, it has destroyed her life, cost her the apprenticeship she was enrolled in & left for
12
     PeaceHealth. The refusal to accommodate her valid medical exemption has wiped out all her
13
     savings, put her in debt, made her totally dependent on another person for survival, caused so
14

15   much stress that it caused a potentially deadly heart condition that further crippled her finances

16   & ability to function in any way, giving her panic attacks, and nightmares.

17      19.         Plaintiff MICAH BURR is a Registered Nurse at PeaceHealth St. John Medical
18   Center in the PeaceHealth System and has worked there for over 16 years. Micah submitted a
19
     signed, written request for an exemption and accommodation from PeaceHealth’s Mandatory
20
     COVID-19 Vaccination Policy, but PeaceHealth refused to provide a reasonable
21
     accommodation. Micah is the sole income and provider for his family. His family relies on his
22

23   employment for health insurance as well as all day-to-day living expenses and paying all the bills

24   for the entire family. The loss of Micah’s employment has placed a severe financial burden on

25   him and his family. This employment loss has also had a direct impact on his mental and
26
     emotional well-being.
27
28
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 1      20.         Plaintiff SARAH BEAM is a Surgical/ OB Technologist in the PeaceHealth St.

 2   Joseph Medical Center in the PeaceHealth System. Sarah Beam submitted a signed, written
 3
     request for an exemption and accommodation from Peacehealth’s Mandatory COVID-19
 4
     Vaccination Policy, but PeaceHealth refused to provide a reasonable accommodation. Sarah
 5
     Beam’s family relies on her employment for medical benefits as well as for expenses for the four
 6
     children. The loss of Sarah Beam’s income has severely impacted her family’s financial and
 7

 8   mental well-being.

 9      21.         Plaintiff JUSTIN SYRING is a Registered Nurse in the PeaceHealth St. John
10   Medical Center in the PeaceHealth System. Justin Syring submitted a signed, written request for
11
     an exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination
12
     Policy, but PeaceHealth refused to provide a reasonable accommodation. Justin Syring’s family
13
     relies on his employment for health insurance and to support his family financially. The loss of
14

15   Justin Syring’s employment has severely impacted his and his family’s financial and physical

16   well-being. He has endured being strung along by the hospital, especially after learning N95

17   masks were being used (he has been fit tested and requested the option to wear N95 masks at
18   work as his accommodation) instead of the then-used standard surgical masks but has not been
19
     contacted by HR except to be told he could not be accommodated and that his exemption
20
     approval has been extended. Financial uncertainty and inability to pay for college for a career
21
     change has caused added mental stress. Due to the prolonged leave without pay, he will not have
22

23   the minimum yearly nursing hours required to maintain his license and will be ineligible to work

24   as a Registered Nurse after 03/25/23 which is causing greater financial and emotional stress.

25      22.         Plaintiff REBECCA LAUGHLIN is a Visiting RN at PeaceHealth Sacred Heart
26
     Home Health in the PeaceHealth System. Rebecca Laughlin submitted a signed, written request
27
     for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination
28
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 1   Policy, but PeaceHealth refused to provide a reasonable accommodation. Rebecca Laughlin

 2   relies on her employment for health insurance as well as for paying living expenses, rent, and
 3
     bills for herself. The loss of Rebecca Laughlin’s employment has severely impacted her financial
 4
     and emotional well-being as the sole income provider for herself, which currently consists of 15
 5
     months of lost wages and benefits.
 6
        23.         Plaintiff LILIYA DUDIK is a Registered Nurse at the PeaceHealth Southwest
 7

 8   Medical Center in the PeaceHealth System. Ms. Dudik submitted a signed, written request for an

 9   exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination Policy,
10   but PeaceHealth refused to provide a reasonable accommodation. Ms. Dudik’s family relies on
11
     her employment for health insurance as well as for paying education expenses for her son. The
12
     loss of her employment has severely impact her and her family’s, financial and physical well-
13
     being.
14

15      24.         Plaintiff GEORGE ALLEN is a Stationary Engineer in the PeaceHealth

16   Southwest Medical Center in the PeaceHealth System. Mr. Allen submitted a signed, written

17   request for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19
18   Vaccination Policy, but PeaceHealth refused to provide a reasonable accommodation. Mr.
19
     Allen’s family relies on his employment for health insurance, and maintenance.
20
        25.         Plaintiff VICTORIA FISHER is a Charge Nurse in the PeaceHealth St. John
21
     Medical Center in the PeaceHealth System. Ms. Fisher submitted a signed, written request for an
22

23   exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination Policy,

24   but PeaceHealth refused to provide a reasonable accommodation. Ms. Fisher’s family relies on

25   her employment for health insurance and general financial maintenance. The loss of her
26
     employment has severely impacted her and her family’s, financial and physical well-being.
27
28
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 1      26.         Plaintiff MELLISSA KOLB is a Cath Lab RN in the PeaceHealth Southwest

 2   Medical Center in the PeaceHealth System. Ms. Kolb submitted a signed, written request for an
 3
     exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination Policy,
 4
     but PeaceHealth refused to provide a reasonable accommodation. Ms. Kolb’s family relies on her
 5
     employment for health insurance as well as general family maintenance. The loss of her
 6
     employment has severely impact her and her family’s, financial and physical well-being.
 7

 8      27.         Plaintiff ALIVIA VEGA is a House supervisor in the PeaceHealth St. Joseph.

 9   Medical Center in the PeaceHealth System. Alivia Vega submitted a signed, written request for
10   an exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination
11
     Policy, but PeaceHealth refused to provide a reasonable accommodation for her religious
12
     exemption. Alivia’s family relies on her employment for health insurance as well as for
13
     supporting her family. The loss of Alivia Vegas employment has severely impacted her and her
14

15   family’s, financial and physical well-being.

16      28.         Plaintiff KAREN F. WICKEN is a Registered Nurse in the PeaceHealth St. Johns

17   Medical Center in the PeaceHealth System. Karen F. Wicken submitted a signed, written request
18   for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination
19
     Policy, but PeaceHealth refused to provide a reasonable accommodation. Being the sole
20
     provider, Karen F. Wicken’s family relies on her employment to live, health insurance as well as
21
     for paying education expenses for her daughter. The loss of Karen F. Wicken’s employment has
22

23   severely impacted her and her family’s financial, physical and emotional well-being.

24      29.         Plaintiff AMY MAKARENKO is a surgical technologist at PeaceHealth

25   Southwest Medical Center. Ms. Makarenko submitted a written request for religious exemption
26
     and accommodation and got approved but PeaceHealth refused to provide a reasonable
27
     accommodation. Ms. Marenko’s family relied on her income for insurance and to help pay the
28
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 1   mortgage and car payment. The loss of Ms. Marenko’s employment has severely impacted her

 2   and her family’s financial, physical and emotional well-being.
 3
        30.         Plaintiff AMY ELIZABETH REED is an RN in the PeaceHealth Southwest
 4
     Medical Center in the PeaceHealth System. Amy Elizabeth Reed submitted a signed, written
 5
     request for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19
 6
     Vaccination Policy, but PeaceHealth refused to provide a reasonable accommodation.
 7

 8   Administrative leave without pay has impacted her financially and emotionally. Ms. Reed is the

 9   primary provider for her family, and has had to support her family by savings she was planning
10   on using for retirement, as well as having to take distributions from her retirement accounts at
11
     Fidelity to survive. She is close to retirement age but being in good health, had planned to work
12
     a few more years to accomplish a comfortable retirement. Now she is unsure of the future. Social
13
     Security will barely cover her financial needs and most of her savings are depleted.
14

15      31.         Plaintiff KAREN BRANCH is a Laboratory Assistant at the Peace Health

16   Southwest Washington Medical Center in the Peace Health System. Karen Branch submitted a

17   signed, written request for an exemption and accommodation from Peace Health’s Mandatory
18   COVID-19 Vaccination Policy, but Peace Health refused to provide a reasonable
19
     accommodation. The loss of Karen Branch’s employment has severely impact her and her
20
     family’s, financial, physical, mental and emotional well-being.
21
        32.         Plaintiff ANNA MEADOWS is a Certified Nursing Assistant in the Peace Health
22

23   System. Anna Meadows submitted a signed, written request for an exemption and

24   accommodation from Peace Health’s Mandatory COVID-19 Vaccination Policy, but Peace

25   Health refused to provide a reasonable accommodation. Ms. Meadow’s family relies on her
26
     employment for health insurance, mortgage payment, food, caring for family and retirement. The
27
28
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 1   loss of Anna Meadows employment has severely impact her and her family’s, financial and

 2   physical well-being.
 3
        33.         Plaintiff MICHAEL ROGEN is an emergency department Registered Nurse at
 4
     PeaceHealth St. Johns Medical Center in the PeaceHealth System. Michael submitted a signed,
 5
     written request for an exemption and accommodation from PeaceHealth’s Mandatory COVID-19
 6
     Vaccination Policy but PeaceHealth refused to provide a reasonable accommodation. Michael’s
 7

 8   family relies on his employment for health insurance as well as for paying living expenses for his

 9   children. The loss of Michael’s employment has severely impacted him and his family’s
10   financial and physical well-being. Michael also suffered significant mental and emotional
11
     distress due to his inability to provide for his family and household as its sole financial provider
12
     for the foreseeable future. In addition to the emotional and mental burden this put on Michael
13
     because of the reasons mentioned above, he also suffered significantly due to his dedication to
14

15   his community and the people whom he had worked with for many years. Michael received the

16   Covid-19 vaccine, under duress, so that he could return to work in an overwhelmed and

17   understaffed department.
18      34.         Plaintiff MARIA O’NEILL is a CMA in the PeaceHealth Southwest Medical
19
     Center, in the PeaceHealth System. Maria O’Neill submitted a signed, written request for an
20
     exemption and accommodation from PeaceHealth’s Mandatory COVID-19 Vaccination Policy,
21
     but PeaceHealth refused to provide a reasonable accommodation. Maria’s family relies on her
22

23   employment for health insurance and contributing to monthly expenses. The loss of Maria’s

24   employment has severely impacted her and her family’s, financial and physical well-being.

25   Emotionally her state of mind and has resulted in decreased confidence. She is unable to obtain
26
     employment in the medical field, even with professional education, training, and certification,
27
28
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 1   due to the vaccine mandate. Ms. O’Neill’s age presents a compounding issue for new

 2   employment.
 3
           35.       Plaintiff EISHA MORENO was a Certified Medical Assistant in the PeaceHealth
 4
     Southwest Medical Center in the PeaceHealth System and worked there for nearly eight years
 5
     prior to her placement on administrative leave without pay. Moreno submitted a signed, written
 6
     request for a medical exemption and accommodation from PeaceHealth’s Mandatory COVID-19
 7

 8   Vaccination Policy, but PeaceHealth refused to provide a reasonable accommodation. Moreno

 9   had previously been granted medical exemptions from PeaceHealth’s flu vaccine requirement,
10   whereby she would wear a mask; nonetheless, PeaceHealth denied the Moreno’s medical
11
     exemption request. Moreno subsequently sought, and received, a religious exemption, which was
12
     granted on September 1, 2021, but PeaceHealth refused accommodations under the exemption.
13
     Prior to her placement on leave, Moreno experienced a hostile work environment whereby she
14

15   was treated poorly for her unvaccinated status. Moreno’s family relies on her employment for

16   health insurance as well as for paying education expenses for her son. The loss of Eisha

17   Moreno’s position has severely impact her and her family’s, financial and physical, emotional
18   and mental health well-being.
19
           36.       “JOHN DOES 1-400” are all individuals with similar or substantially similar
20
     situations and claims to those made by Plaintiff whose identities shall be provided as appropriate
21
     and the Caption and Complaint amended accordingly.
22

23         37.       “JANE DOES 1-400” are all individuals with similar or substantially similar

24   situations and claims to those made by Plaintiff whose identities shall be provided as appropriate

25   and the Caption and Complaint amended accordingly.
26
     ///
27
     ///
28
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 1                               III.    JURISDICTION AND VENUE

 2      38.         Venue is proper in the Western District of Washington as Defendant
 3
     PeaceHealth’s principal place of business is 1115 SE 164th Avenue Vancouver, in Clark County,
 4
     Washington.
 5
        39.         This Court has jurisdiction over Plaintiffs’ 28 U.S.C. § 1331 and 1343, and
 6
     supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1376.
 7

 8      40.         This Court is authorized to grant declaratory judgment under the Declaratory

 9   Judgment Act, 28 U.S.C. §§2201-02, implemented through Rule 57 of the Federal Rules of Civil
10   Procedure.
11
        41.         This Court is authorized to grant Plaintiffs’ prayer for a temporary restraining
12
     order and preliminary and permanent injunctive relief pursuant to Rule 65 of the Federal Rules
13
     of Civil Procedure.
14

15      42.         This Court is authorized to grant Plaintiffs’ prayer for relief regarding damages

16   pursuant to Rule 54 of the Federal Rules of Civil Procedure and the supplementary laws of the

17   State of Washington, as applicable under Fed. R. Civ. P. 69.
18      43.         This Court is authorized to grant Plaintiffs’ prayer for relief regarding damages,
19
     including treble damages under the Washington Law Against Discrimination (“WLAD”),
20
     Revised Code of Washington (“RCW”) 49.60.
21
        44.         This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs and
22

23   expenses, including reasonable attorneys’ fees, pursuant to the Washington Law Against

24   Discrimination.

25                                            IV.      FACTS
26
       PeaceHealth had no authority to mandate an Emergency Authorized experimental
27                           product under 21 U.S.C. 360bbb.

28
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 1         45.       Because of the emergence of the novel corona virus, SARS CoV2 (“COVID-19”),

 2   three separate vaccines have been developed to purportedly prevent COVID-19.
 3
           46.       Congress has given the Food and Drug Administration (“FDA”) the authority to
 4
     issue Emergency Use Authorization (“EUA”) of unapproved drugs during a pandemic.
 5
           47.       Unapproved Drugs are drugs that are still in the clinical investigation stage as
 6
     defined under 21 C.F.R. §312.3 and have not become approved under 21 C.F.R. §355. U.S.C.
 7

 8   §360bbb-3(a)(2)(A).

 9         48.       Though EUA drugs may be offered to people in a pandemic, Congress expressly
10   retained the right of individuals the option to accept or refuse administration of the product. 21
11
     U.S.C. §360bbb-3(e)(1)(A)(i)(III).
12
           49.       Congress also gave the Secretary of the Department of Health and Human
13
     Services (“HHS”) alone the duty to determine “the consequences, if any, of refusing
14

15   administration of the product.” 21 U.S.C. 360bbb-3(e)(1)(A)(i)(III).

16         50.       The HHS Secretary has not made forfeiting employment a consequence of

17   refusing the EUA authorized vaccines. On the contrary, all the vaccine information fact sheets
18   for all EUA vaccines products for COVID-19 in the FAQ section explicitly says “Under the
19
     EUA, it is your choice to receive or not receive the vaccine. Should you decide not to receive it,
20
     it will not change your standard medical care.”4
21
           51.       The HHS Secretary lacks the authority to condition employment on receipt of an
22

23   EUA vaccine pursuant to 45 C.F.R. 46(A), the Common Rule for the Protection of Human

24   Subjects, and the principles.

25   ///
26

27
     4 Food and Drug Administration, Fact Sheet for Recipients and Caregivers Emergency Use Authorization (EUA) of
28   the Pfizer-Biontech COVID-19 Vaccine to Prevent Coronavirus Disease 19 (COVID-19) In Individuals.
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 1       52.           The Belmont Report is clear: “if there is any element of research in an activity,

 2   that activity should undergo review for the protection of human subjects.”5 The Belmont Report
 3
     uses the term “beneficence,” which it defines, in part, as “Persons are treated in an ethical
 4
     manner not only by respecting their decisions and protecting them from harm, but also by
 5
     making efforts to secure their well-being.”
 6
         53.           The Belmont Report further addresses the importance of informed consent,
 7

 8   providing that “It may be that a standard of “the reasonable volunteer” should be proposed” and

 9   further noting that “there is widespread agreement that the consent process can be analyzed as
10   containing three elements: information, comprehension and voluntariness.”6
11
         54.           The Belmont Report further provides, “Even when some direct benefit to them is
12
     anticipated, the subjects should understand clearly the range of risk and the voluntary nature of
13
     participation.”
14

15       55.           Under the EUA, 21 U.S.C. 360bbb-3(e)(1)(A)(iii) and (B)(iii), the Secretary is

16   required to monitor adverse events and collect information regarding safe and effectiveness

17   making clear that there is an element of research attached to the issuance of an EUA.
18       56.           Both the Common Rule and the Belmont Report require legally effective
19
     informed consent before administering an investigational drug.
20
         57.           Legally effective informed consent must be voluntary and cannot include coercion
21
     or undue influence.7 The report explains that “[u]njustifiable pressures usually occur when
22

23   persons in positions of authority or commanding influence – especially where possible sanctions

24   are involved – urge a course of action for a subject.

25

26
     5 The Belmont Report, at 4, April 17, 1979, available at https://www.hhs.gov/ohrp/regulations-and-policy/belmont-
27   report/read-the-belmont-report/index.html.
     6 Id. at 7.
28   7 Id. at 7.
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 1       58.         PeaceHealth knew that legally effective informed consent is freely given. The first

 2   line of its Acknowledgement form given to patients receiving the vaccine state: “I made the
 3
     choice to get the COVID-19 vaccine on my own and freely,” yet PeaceHealth asserted
 4
     “unjustifiable pressure” by requiring the vaccine for continued employment. Unquestionably, an
 5
     employer hanging continued employment over an employee’s head constitutes a “sanction,” and
 6
     a significant one at that.
 7

 8       59.         PeaceHealth knew or should have known that the vaccine would not stop

 9   infection and transmission before it rolled out the vaccine mandate as the CDC statements on the
10   vaccine’s ineffectiveness were publicly available.8
11
         60.         The Food and Drug Administration (“FDA”) issued an Emergency Use
12
     Authorization (“EUA”) for the Pfizer-BioNTech COVID-19 Vaccine (“Pfizer Vaccine”) for
13
     individuals 16 years of age and older, on December 11, 2020.9
14

15       61.         On August 23, 2021, less than a year later, the FDA gave the Pfizer vaccine under

16   the name Comirnaty full approval, though none of the approved product came to market in

17   2021.10 Moderna was granted an EUA for its COVID-19 Vaccine (“Moderna”) on December 17,
18   2020,11 and full approval under the name Spikevax on January 31, 2022.12
19
         62.         On February 27, 2021, the single shot Johnson and Johnson COVID-19 Vaccine
20
     (“Janssen Vaccine”) was granted an EUA.13
21

22   8 See: ¶¶ 53 and 71.
     9 FDA Takes key action in fight against COVID-19 By Issuing Emergency Use Authorization for First COVID-19
23   Vaccine, FDA, https://www.fda.gov/news-events/press-announcements/fda-takes-key-action-fight-against-covid-19-
     issuing-emergency-use-authorization-first-covid-19 (last visited October 20, 2022.
24   10 Pfizer-BioNTech COVID-19 Vaccines, FDA, https://www.fda.gov/emergency-preparedness-and-
     response/coronavirus-disease-2019-covid-19/pfizer-biontech-covid-19-vaccines (last visited October 20, 2022).
25   11 Moderna COVID-19 Vaccine Frequently Asked Questions, FDA, https://cacmap.fda.gov/emergency-
     preparedness-and-response/coronavirus-disease-2019-covid-19/moderna-covid-19-vaccine-frequently-asked-
26   questions. (last visited October 20, 2022).
     12 Moderna COVID-19 Vaccines, FDA, https://www.fda.gov/emergency-preparedness-and-response/coronavirus-
27   disease-2019-covid-19/moderna-covid-19-vaccines (last visited October 20, 2022).
     13 FDA Issues Emergency Use Authorization for Third COVID-19 Vaccine, https://www.fda.gov/news-events/press-
28   announcements/fda-issues-emergency-use-authorization-third-covid-19-vaccine (last visited October 20, 2022).
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 1       63.          When these EUA’s and approvals were issued, there was no study done to verify

 2   that the vaccines stopped infection or transmission as the following statements by the FDA in
 3
     meetings to grant EUA and/or approval status demonstrate.
 4
               A. “The lack of data on how the vaccine impacts asymptomatic infection and viral
 5
                  shedding was also pointed out and that this should be addressed prior to study
 6
                  unblinding.”14     However, Pfizer unblinded the group anyway.15
 7

 8             B. “Effect on asymptomatic infection and infectiousness –Other designs needed.”16

 9       64.          On July 30, 2021, a report was posted on the Center for Disease Control and
10   Prevention (“CDC”) website discussing how the Delta infection resulted in similarly high SARS-
11
     CoV-2 viral loads in vaccinated and unvaccinated people. High viral loads suggest an increased
12
     risk of transmission and raised concern that vaccinated people can transmit the virus. This
13
     finding was a pivotal discovery leading to CDC’s updated mask recommendation. The masking
14

15   recommendation was updated to ensure the vaccinated public would not unknowingly transmit

16   virus to others, including their unvaccinated or immunocompromised loved ones.17

17       65.          On August 6, 2021 the director of the CDC, Rochelle Walensky stated to Wolf
18   Blitzer that, “Our vaccines are working exceptionally well. . . . They continue to work well for
19
20

21
     14 162nd VACCINES AND RELATED BIOLOGICAL PRODUCTS ADVISORY COMMITTEE SUMMARY
22   MINUTES, https://www.fda.gov/advisory-committees/advisory-committee-calendar/vaccines-and-related-
     biological-products-advisory-committee-december-10-2020-meeting-announcement,
23   https://www.fda.gov/media/144958/download, December 10, 2020, accessed October 18, 2022.
     15 See Discussions by FDA regarding EUA for Moderna.
24   16 Steven Goodman, MD, MHS, PhD, Considerations for placebo-controlled trial design if an unlicensed vaccine
     becomes available, p. 20, VRBAC, https://www.fda.gov/advisory-committees/advisory-committee-
25   calendar/vaccines-and-related-biological-products-advisory-committee-october-22-2020-meeting-
     announcement#event-materials, https://www.fda.gov/media/144582/download, December 17, 2020, accessed
26   October 18, 2022.
     17 Brown CM, Vostok J, Johnson H, et al. Outbreak of SARS-CoV-2 Infections, Including COVID-19 Vaccine
27   Breakthrough Infections, Associated with Large Public Gatherings — Barnstable County, Massachusetts, July 2021.
     MMWR Morb Mortal Wkly Rep 2021;70:1059-1062. DOI: http://dx.doi.org/10.15585/mmwr.mm7031e2, accessed
28   October 18, 2022.
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 1   Delta, with regard to severe illness and death – they prevent it. But what they can’t do anymore

 2   is prevent transmission.”
 3
           66.       Additionally, PeaceHealth had a COVID-19 outbreak originating from a patient
 4
     including “fully” vaccinated individuals.18
 5
           67.       Based on these and other statements by officials in the Federal Government,
 6
     evidence from the drug companies, and other studies, and its own experience that the vaccines
 7

 8   were not effective in stopping the transmission of COVID-19, PeaceHealth knew or should have

 9   known that the vaccine could not stop transmission, and that despite vaccination status, the use
10   of Personal Protective Equipment (“PPE”) and other countermeasures would be required for all
11
     staff (vaccinated and unvaccinated alike) to prevent infecting patients. PeaceHealth demonstrated
12
     this conclusion by requiring the use of additional PPE for even the vaccinated staff. The
13
     additional requirements of PPE for vaccinated staff demonstrates that PeaceHealth knew of or
14

15   questioned the ineffectiveness of vaccine ceasing transmission of COVID-19.19

16         68.       On information and belief despite knowing the vaccine did not stop infection and

17   transmission, PeaceHealth required infected, but vaccinated workers to return to work because of
18   the staffing shortages caused by the vaccine mandate in contradiction that the mandate was
19
     intended to protect patients. Additionally, because PeaceHealth did not require regular testing or
20
     proof of testing for COVID-19 for all PeaceHealth employees, it allowed asymptomatic
21
     individuals who had COVID-19 to work without additional limitations beyond.
22

23   ///

24   ///

25

26   18Wochnick, Meg, PeaceHealth COVID outbreak traced to patient; 3 of 4 infected workers unvaccinated, published
     in the Columbian, July 19,2021, 12:50pm. https://www.columbian.com/news/2021/jul/19/peacehealth-covid-
27   outbreak-traced-to-patient-3-of-4-infected-workers-unvaccinated/
     19 PeaceHeatlth’s COVID-19 Vaccine Information, available at: https://www.peacehealth.org/about-
28   peacehealth/safety. Last accessed 12/11/2022.
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 1       PeaceHealth was acting as a trial run for the State of Washington’s vaccine
         mandate
 2

 3
         69.         On information and belief, PeaceHealth agreed to be a test case for the vaccine
 4
     mandate for health care workers issued by Governor Jay Inslee.20
 5
         70.         On or about August 3, 2021, PeaceHealth announced it would be requiring all
 6
     employees to be fully vaccinated on or about September 1, 2021, as a condition of
 7

 8   employment.21

 9       71.         A spokesperson of the hospital said, “This was a wrenching decision, a difficult
10   decision. But at the end of the day our primary ethical decision is to keep our patients safe. We
11
     didn’t have a choice but to take this hard stance. . .. I’m proud of the fact that we are one of the
12
     first to take this stance.”22
13
         72.         On August 9, 2021, Jay Inslee issued Proclamation 21-14 which required all
14

15   health care workers in Washington to be vaccinated by October 18, 2021.

16       73.         On information and belief, though Governor Inslee’s Proclamation purportedly

17   allowed for religious accommodations to the vaccine requirement, neither PeaceHealth nor the
18   Governor intended to grant accommodations. The Governor’s desire to withhold or limit
19
     exemptions for religious persons was evidenced by correspondence between his General
20
     Counsel, Ms. Kathryn Leathers, and the Washington Attorney General’s office, where Ms.
21

22

23

24   20 See: Proclamation By the Governor 21-14, Amending Proclamation 20-05: COVID-19 Requirement. Available
     at: https://www.governor.wa.gov/sites/default/files/proclamations/21-14%20-%20COVID-
25   19%20Vax%20Washington%20%28tmp%29.pdf. Last accessed: December 10, 2022.
     21 PeaceHealth Requires COVID-19 Vaccination. Available at:
26   https://www.governor.wa.gov/sites/default/files/proclamations/21-14%20-%20COVID-
     19%20Vax%20Washington%20%28tmp%29.pdf. Last accessed: December 11, 2022.
27   22 Azar, Kellee, KATU Staff, PeaceHealth is SW Washington puts hundreds on leave who aren’t vaccinated,
     published Friday September 3, 2021, https://komonews.com/news/local/peacehealth-in-sw-washington-puts-
28   hundreds-on-leave-who-arent-vaccinated.
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 1   Leathers stated, regarding the COVID-19 vaccine shots: “Exemptions: medical for sure; and

 2   religious (if we have to; if yes, as narrow as possible).”23
 3
         74.          On information and belief, the State of Washington and PeaceHealth worked
 4
     together to devise an accommodation process that was purely pretextual and would provide
 5
     cover to discriminate against religious adherents with sincerely held beliefs that prevented them
 6
     from being vaccinated.
 7

 8       75.          On information and belief, PeaceHealth has long had a requirement for the flu

 9   vaccine, but has allowed religious objectors to opt out with a simple declination after viewing a
10   video. The accommodation required the objector to wear a surgical mask except while eating in
11
     the break room and the withholding of a name tag sticker which indicated an individual had
12
     received the flu vaccine.
13
         76.          Those with medical exemptions to the flu vaccine or other vaccines were required
14

15   to have a doctor’s verification of exemption and were then granted the same accommodation.

16       77.          With the implementation of the COVID Vaccination policy, PeaceHealth

17   implemented a new procedure for claiming a religious accommodation which included a much
18   more intrusive questionnaire and investigation.
19
         78.          On information and belief, PeaceHealth originally required a letter requesting
20
     accommodation, which had to be requested before the September 1, 2021, deadline.
21
         79.          After the September 1, 2021 deadline, PeaceHealth required all employees who
22

23   had requested a religious exemption to fill out a new form with the threat of revoking the

24   religious exemption already granted. The due date for this new form was October 18, the same

25   deadline for vaccination of Healthcare workers instituted by Governor Jay Inslee.
26

27   23 Kruse, Brandi. Emails: State sought to make religious vaccine exemption ‘as narrow as possible.’ Available at:
     https://www.q13fox.com/news/emails-state-sought-to-make-religious-vaccine-exemption-as-narrow-as-possible.
28   August 24, 2021. Last accessed December 11, 2022. Leathers’ emails reproduced as Exhibit 6.
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 1         80.       This questionnaire and investigation was very similar to the questionnaire and

 2   investigation implemented by State agencies throughout Washington State.
 3
           81.       Additionally, medical exemptions were declined, including routine or common
 4
     exemptions that PeaceHealth had accommodated prior to emergence of COVID-19.
 5
           82.       Ultimately, PeaceHealth granted zero religious accommodations and all
 6
     employees seeking religious accommodations were required to use Paid Time Off (“PTO”).
 7

 8   Once the employee expended PTO, (s)he was placed on unpaid administrative leave (“Leave”).

 9   These employees remain on Leave and cannot return to work unless and until: (1) they become
10   “fully” vaccinated against COVID-19; or (2) PeaceHealth rescinds its policy requiring “full”
11
     vaccination against COVID-19 as a condition of employment. All benefits were suspended,
12
     including 401k contributions and matching. This unpaid administrative leave and suspension of
13
     benefits continues to be extended despite Governor Inslee ending the state of emergency on
14

15   October 31, 2021.24

16         83.       During the pendency of the exemption process many of the employees were

17   harassed, bullied, and subjected to a hostile work environment. Unvaccinated employees were
18   often viewed and treated as though they were a danger to others even though the information
19
     provided by the State and Federal Government clearly indicated that the vaccines failed to cease
20
     transmission of COVID-19. Comments from managers included, “you’re putting a nail into your
21
     own coffin if you’re not taking a COVID vaccine! No one will hire you.”
22

23   ///

24   ///

25   ///
26
     ///
27
     24 https://www.governor.wa.gov/news-media/inslee-announces-end-remaining-covid-19-emergency-orders-and-
28   state-emergency-october-31
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 1                PeaceHealth could have Accommodated Unvaccinated Employees with a
     de minimis burden
 2
           84.       Until PeaceHealth put all unvaccinated employees on unpaid administrative leave,
 3

 4   PeaceHealth employees had been working throughout the pandemic, over a year and a half, using

 5   PPE and other countermeasures.

 6         85.        By July 27, 2021the CDC acknowledged that “preliminary evidence suggests that
 7
     fully vaccinated people who do become infected with the Delta variant can spread the virus to
 8
     others.”25
 9
           86.       With the CDC’s admission that vaccination against COVID-19 does not cease
10
     transmission of the disease, PeaceHealth could have adopted alternative COIVD-19
11

12   countermeasures that had worked previously and allowed the unvaccinated workers left on staff

13   at no extra expense for the hospital.
14         87.       PeaceHealth never imposed a vaccine mandate upon the patients themselves.
15
                     Plaintiffs’ Asserted Sincerely Held Religious Beliefs
16
           88.       Plaintiffs all have sincerely held religious beliefs that precluding each from
17
     complying with PeaceHealth’s Mandatory COVID-19 Vaccination Policy as each vaccine has a
18

19   connection with the use of cell lines of aborted fetuses (in their origination, production,

20   development, or testing).

21         89.       A fundamental component of Plaintiffs’ sincerely held religious beliefs is that all
22   life is sacred, from the moment of conception to natural death, and that abortion is a grave sin
23
     against God and the murder of an innocent life.
24
     ///
25

26

27   25Centers for Disease Control and Prevention, COVID-19, Interim Publi8c Health Recommendations for Fully
     Vaccinated People, https://web.archive.org/web/20210728032236/https://www.cdc.gov/coronavirus/2019-
28   ncov/vaccines/fully-vaccinated-guidance.html
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 1                                     V.      CLASS ALLEGATIONS

 2      90.         Plaintiffs bring this class action under Federal Rules of Civil Procedure 23(b)(2)
 3
     on behalf of themselves and a class of all other persons similarly situated PeaceHealth
 4
     employees, including those on active status and those on administrative leave.
 5
        91.         Plaintiffs seek to represent the following class:
 6
                All PeaceHealth employees who are or will be placed on administrative leave
 7
                without pay or terminated by PeaceHealth as an accommodation to a request
 8              for a seeking a religious or medical exemption and accommodation to
                PeaceHealth’s COVID-19 vaccine requirement.
 9

10      92.         All Plaintiffs are adequate representatives of the proposed class.
11
        93.         The proposed class satisfies the requirements of Rule 23(a)(1) because the class is
12
     so numerous that joinder of all members is impracticable.
13
        94.         Upon information and belief, there are at least eight hundred (800) PeaceHealth
14

15   employees that currently fit within the class. The precise number and identification of the class

16   members will be ascertainable from PeaceHealth’s records during discovery.

17      95.         There are common questions of law and fact and common claims to all members
18   of the class that satisfy the requirements of Rule 23(a)(2) and (3). Those common questions and
19
     claims include, but are not limited to, the following:
20
                a. Did PeaceHealth comply with federal and state law when it indiscriminately
21
                    denied religious exemption and accommodation requests en masse?
22

23              b. Did PeaceHealth comply with federal and state law when it informed the

24                  Plaintiffs that while their exemptions were finally “approved,” it would be an

25                  “undue hardship” on PeaceHealth for them to keep their current positions,
26
                    irrespective of any alternative safety measures that Plaintiffs are willing to
27
28
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 1               undertake, and that other healthcare employers in Washington and throughout the

 2               country allow their employees to undertake?
 3
              c. Did PeaceHealth comply with its obligations under federal law to engage in the
 4
                 interactive process when responding to each exemption request?
 5
              d. Did PeaceHealth violate federal and state law when it refused Plaintiffs and others
 6
                 exemption requests premised on the link between the vaccines and abortion?
 7

 8            e. Did PeaceHealth provide an adequate mechanism for requesting and obtaining a

 9               religious exemption through the “interactive” exemption, accommodation, and
10               appeal processes when Plaintiffs and others had limited time to appeal
11
                 PeaceHealth’s decision and to provide medical and personal history, and
12
                 PeaceHealth continued deny them based on the lack of “evidence-based criteria”?
13
              f. Did PeaceHealth violate federal and state law when it pressured its employees to
14

15               accept vaccination against their religious beliefs by posting their jobs and

16               recruiting their replacements; and when it removed employees from the

17               November work schedule, even as their appeals were supposedly still pending?
18            g. Plaintiffs’ claims are typical of the claims of the class because they, like the class
19
                 members, requested exemptions and accommodations from the Mandatory
20
                 COVID-19 Vaccination Policy and PeaceHealth denied those requests.
21
              h. For the same reason, Plaintiffs will fairly and adequately protect the interests of
22

23               the class.

24            i. The question of law or fact common to the members of the class predominate over

25               any questions affecting only individual members, and a class action is superior to
26
                 other available methods for fairly and efficiently adjudicating Plaintiffs’ claims.
27
                 Joinder of all members is impracticable.
28
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 1       96.         The proposed class meets the adequacy requirements of Federal Rule of Civil

 2   Procedure 23(a)(4), because the claims of the representative Plaintiffs are typical of the claims of the
 3   class. The representative Plaintiffs seek the same relief as the other members of the class—namely,
 4
     an order declaring Defendants’ denial of accommodations to Plaintiffs’ religious requests for
 5
     exemption/accommodation to Defendants COVID-19 vaccine mandate and enjoining Defendants
 6
     from prohibiting Plaintiffs’ from on-site employment at each Plaintiffs’ respective PeaceHealth
 7
     facility, and the related damages. Plaintiffs will defend the rights of all proposed class members fairly
 8
     and adequately.
 9

10       97.         The proposed class is represented by the Silent Majority Foundation (“SMF”) which

11   has been litigating individual and mass tort litigation on behalf of individuals seeking religious

12   accommodations from workplace COVID-19 mandates throughout Washington. SMF is also

13   currently seeking class certification on behalf of 245 members of the United States Coast Guard
14   challenging the United States government’s COVID-19 mandate in the Southern District of Texas
15
     (Bazzrea v. Austin, 3:22-cv-265 (SDTX, filed July 25, 2022)).
16
         98.         The Members of the class are readily ascertainable through Defendants’ records.
17
         99.         The proposed class also satisfies Federal Rule of Civil Procedure 23(b)(2) as
18
     Defendants have acted on grounds generally applicable to the class by unlawfully discriminating
19
20   against Plaintiffs religious beliefs. Defendants have also unreasonably delayed in allowing Plaintiffs

21   to return to work. Injunctive and declaratory relief is thus appropriate with respect to the class as a

22   whole.

23                                    VI.     FIRST CLAIM FOR RELIEF
24   (Unlawful Discrimination in Contravention of Title VII of the Civil Rights Act – 42 U.S.C.
25                                       §2000e et seq.)

26       100.        Plaintiffs reallege all paragraphs above and below as if fully set forth herein.

27       101.        Plaintiffs are members of a protected class based on their religious beliefs.
28
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 1      102.        Plaintiffs’ sincerely held religious beliefs conflict with the PeaceHealth’s

 2   COVID-19 vaccine mandate.
 3
        103.        When Plaintiffs raised religious objections to taking the COVID-19 vaccine based
 4
     on sincerely held beliefs, PeaceHealth failed to make a good faith effort to accommodate
 5
     Plaintiffs’ religious beliefs. Such accommodations would be required a de minimis effort, would
 6
     not have been an undue hardship to PeaceHealth, and would have allowed Plaintiffs to continue
 7

 8   working with PPE, regular testing, and other countermeasures to protect against the spread of

 9   COVID-19, as was done for over a year and a half before the imposition of the COVID-19
10   vaccine mandate.
11
        104.        Instead of finding a reasonable accommodation or set of accommodations for
12
     Plaintiffs, PeaceHealth engaged in a series of adverse employment actions which continue to this
13
     day.
14

15      105.         As a direct and proximate result of the aforesaid complained of conduct and

16   violation of Title VII, each respective Plaintiff sustained pecuniary and non-economic injuries in

17   an amount that exceeds $75,000.00, including lost wages, benefits, retirement funds, the denial
18   of promotional opportunity, humiliation, embarrassment, unnecessary pain and suffering,
19
     attorneys’ fees, and costs associated with this action.
20
        106.        Plaintiffs have filed and are filing charges with the EEOC complaining of these
21
     discriminatory actions, accompanied by attorney-requested immediate right to sue, which is
22

23   expected imminently. This Court may exercise its equity jurisdiction to grant preliminary

24   injunctive relief to preserve the status quo pending completion of the EEOC’s administrative

25   process. See e.g., Sheehan v. Purolator Courier Corp., 676 F.2d 877, 884 (2d Cir. 1981); Drew
26
     v. Liberty Mut. Ins. Co., 480 F.2d 69, 74 (5th Cir. 1973); Bailey v. Delta Air Lines, Inc., 722 F.2d
27
     942, 944-45 (1st Cir. 1983).
28
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 1
                               VII. SECOND CLAIM FOR RELIEF
 2     (PeaceHealth exceeded authority under Emergency Use Authorization statute. 21 U.S.C.
                                                 360bbb)
 3
         107.     Plaintiffs reallege all paragraphs above and below as if fully set forth herein.
 4
         108.          The authority to determine consequences for not receiving an EUA product rests
 5
     solely with the Secretary of Health and Human Services pursuant to 21 U.S.C. 360bbb-
 6
     3(e)(1)(A)(i)(III).26
 7

 8       109.          The Secretary of Health and Human Services did not make the loss of a job one of

 9   the consequences for refusing an EUA vaccine.
10       110.          In fact, because under the EUA unapproved products, by definition, are
11
     investigational drugs, the principles of the Belmont Report and the protection Human subjects
12
     must apply pursuant to 42 U.S.C. 289 and The Common Rule under 45 CFR 46.
13
         111.          Pursuant to 45 CFR 46(a)(1), legally effective informed consent must be obtained
14

15   before an experimental product can be administered to an individual. Such informed consent

16   cannot be obtained under circumstances of coercion or undue influence.

17       112.          The vaccine mandate and subsequent unpaid leave of individuals was an attempt
18   by PeaceHealth to coerce consent for an experimental product.
19
         113.          Such coercion is contrary to ethical principles of medical care and Plaintiffs have
20
     a right to be free of such coercion.
21
                               VIII. THIRD CLAIM FOR RELIEF
22         (Unlawful Employment Discrimination Based on Religion in Contravention of the
23                     Washington Law Against Discrimination RCW 49.60)

24       114.          Plaintiff realleges all paragraphs above and below as if fully set forth herein.

25

26
     26 “Appropriate conditions designed to ensure that individuals to whom the product is administered are informed . .
27   . of the option to accept or refuse administration of the product, of the consequences, if any, of refusing
     administration of the product, and of the alternatives to the product that are available and of their benefits and risks.”
28   21 U.S.C. 360bbb-3(e)(1)(A)(i)(III).
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 1         115.       Plaintiffs are members of a protected class based on their religious beliefs.

 2         116.       Plaintiffs’ sincerely held religious beliefs conflict with the PeaceHealth’s
 3
     COVID-19 vaccine mandate.
 4
           117.       When Plaintiffs raised religious objections to taking the COVID-19 vaccine based
 5
     on sincerely held beliefs, PeaceHealth failed to make a good faith effort to accommodate
 6
     Plaintiffs’ religious beliefs; rather, PeaceHealth took a universal approach to “accepting
 7

 8   Plaintiffs’ religious objections” while disclaiming the ability to accommodate the requests. It

 9   would not have been an undue hardship to have allowed Plaintiffs to continue working with PPE,
10   regular testing, and other countermeasures to protect against the spread of COVID-19, as was
11
     done for over a year and a half before the imposition of the COVID-19 vaccine mandate.
12
           118.       Instead of finding a reasonable accommodation or set of accommodations for
13
     them, PeaceHealth engaged in a series of adverse employment actions, which continue to this
14

15   day.

16         119.       As a result of PeaceHealth’s violation of RCW 49.60 Plaintiffs have each lost

17   more than one year’s worth of wages and benefits in an amount to be determined at trial.
18                                    IX.      FOURTH CLAIM FOR RELIEF
19                               (Wage Theft in Contravention of RCW 49.48)
                   Plaintiffs reallege all paragraphs above and below as if fully set forth herein.
20
           120.       The term “wages” is liberally defined under Washington Law and includes,
21
     without limitation, vested pension rights.
22

23         121.       Pension rights are vested upon the commencement of employment in Washington

24   State and were vested in some or all of the Plaintiffs.

25         122.       The Plaintiffs were wrongfully deprived of their wages, including pension rights,
26
     and are entitled to repayment of such wages.
27
     ///
28
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 1                                 X.      FIFTH CLAIM FOR RELIEF
         (Violation of the right to be free from arbitrary and capricious government action)
 2
        123.        Plaintiffs reallege all paragraphs above and below as if fully set forth herein.
 3

 4      124.        PeaceHealth conspired with the State of Washington to deprive Plaintiffs of their

 5   civil rights by agreeing to be the testing ground for the Vaccine Mandate and agreeing to change

 6   their medical and religious accommodation regimes to align with those of the State of
 7
     Washington.
 8
        125.        PeaceHealth is a government actor for purposes of the Vaccine Mandate.
 9
        126.        Plaintiffs have a fundamental right to be free from arbitrary and capricious
10
     government action.
11

12      127.        PeaceHealth worked in concert with the Governor of Washington to deny vaccine

13   accommodations and test the role out of the vaccine mandate.
14      128.        One or more the Plaintiffs had natural immunity which is at least as effective as
15
     vaccine immunity.
16
        129.        The Vaccine immunity has been proven to wane over time.
17
        130.        The mandated vaccine does not prevent infection or transmission, even if viewed
18

19   through a rational basis analysis, Defendants’ action(s), and the continuance thereof, are arbitrary

20   and capricious, without limitation, by being contrary to the Center for Disease Control’s own

21   statements and COVID-19 guidance.
22      131.        The extension of the vaccine mandate past the end of the State of Washington’s
23
     COVID-19 emergency, which terminated on October 31, 2022, is arbitrary and capricious.
24
        132.        The Plaintiffs were damaged and continue to be damaged by Defendants’ decision
25
     on arbitrary and capricious grounds to extend their unpaid administrative leave, and by
26

27   Defendants’ continuation of the vaccination mandate and refusal to reinstate them.

28
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 1                                   XI.      SIXTH CLAIM FOR RELIEF
                                              (Declaratory Relief)
 2       133.        Plaintiffs reallege all paragraphs above and below as if fully set forth herein.
 3
         134.        For all the forgoing reasons, Plaintiffs request that the Court declare
 4
     PeaceHealth’s COVID-19 vaccine requirement unlawful, unconstitutional, and unenforceable.
 5
                                 XII.     SEVENTH CLAIM FOR RELIEF
 6                                             (Injunctive Relief)
         135.        Plaintiffs reallege all paragraphs above and below as if fully set forth herein.
 7

 8       136.        PeaceHealth’s COVID-19 vaccine requirement threatens immediate and

 9   irreparable harm to Plaintiffs, including a loss of highly trained employees.
10       137.        Monetary damages or other remedies at law cannot adequately address the injury
11
     caused by the COVID-19 vaccine requirement as Plaintiffs cannot return to work at PeaceHealth
12
     until PeaceHealth rescinds the requirement.
13
         138.        Balancing the hardships to Plaintiffs relative to the hardships to Defendants,
14

15   extraordinary equitable relief is warranted.

16       139.        Permanent injunctive relief would not disserve the public interest, because it

17   would enjoin unconstitutional and illegal action.
18                                   XIII. REQEST FOR RELIEF
19
     WHEREFORE, the Plaintiffs pray:
20
         140.        A judgment in favor of Plaintiff and against Defendant on both claims in an
21
     amount to be determined at trial but exceeding $10,000,000.00.
22
         141.        A finding that Defendants have discriminated against Plaintiffs on the basis of
23

24   Plaintiffs’ sincerely held religious beliefs.

25       142.        A declaration from this Court that the Plaintiffs’ right to be free from arbitrary
26   and capricious government action has been infringed.
27
         143.        A declaration from this Court that PeaceHealth has exceeded its authority.
28
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 1      144.         A declaration from this Court that the Plaintiffs are entitled to their wages and

 2   benefits.
 3
        145.         A preliminary and permanent injunction from being prevented from working for
 4
     PeaceHealth based on vaccination status.
 5
        146.         Attorney fees and exemplary damages as authorized by 42 U.S.C. § 1988, other
 6
     statute, contract or recognized ground of equity, as applicable.
 7

 8      147.         That the Plaintiffs be granted such other, further, and different relief as the nature

 9   of the case may require or as may be just, equitable, and proper to the Court.
10

11
            RESPECTFULLY SUBMITTED this 12TH day of December, 2022.
12

13

14                                                  SILENT MAJORITY FOUNDATION
15

16                                                  /s/Simon Peter Serrano______________
                                                    Simon Peter Serrano, WSBA No. 54769
17                                                  5238 Outlet Dr.
                                                    Pasco, WA 99301
18                                                  (530) 906-9666
                                                    pete@silentmajorityfoundation.org
19
20                                                  Counsel for Plaintiffs

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 1                               CERTIFICATE OF SERVICE

 2          I hereby certify that on this 12th day of December 2022, I electronically filed the foregoing
 3
     document with the Clerk of the United States District Court using the CM/ECF system which will
 4
     send notification of such filing to all parties who are registered with the CM/ECF system.
 5

 6                  DATED this 12th day of December 2022.
 7

 8

 9                                               /s/Madeline Johnson
                                                  Madeline Johnson
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